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                               UNITED STATES DISTRICT COURT
                              CENTRAL DISTRICT OF CALIFORNIA

                                       CIVIL MINUTES - GENERAL
 Case No.       CV21–1847-JPR                                                         Date   April 22, 2021
 Title          Linda McMahon v. Marriott International, Inc.




 Present: The                 Jean P. Rosenbluth, United States Magistrate Judge
 Honorable
                    Bea Martinez                                                CS 4/22/2021
                    Deputy Clerk                                         Court Reporter / Recorder
            Attorneys Present for Plaintiff:                        Attorneys Present for Defendants:
                 Alexandra M. Irons                                          Derik A. Sarkesians



 Proceedings:              (IN COURT): Plaintiff’s Motion to Remand Case to Los Angeles Superior
                           Court (held telephonically)

         Case is called. Counsel make their appearances. Court addresses parties. Argument heard.

      The Court takes Plaintiff’s Motion to Remand Case to Los Angeles Superior Court Xnder
Vubmission.




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                                                               Initials of Preparer                bm



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